 Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 1 of 12 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEWYORK                               CASE NO.


 SHAUN YOUNG
                                  Plaintiff,

             -against-                                         COMPLAINT
                                                               AND DEMAND FOR
                                                               JURY TRIAL
    CITY OF NEW YORK and
TFIE,
New York City Police Department Offlrcer
ERIC CABRERA Id No. 9381452
New York City Police Department Officer
SHAWN JOHNSTON Id, No 947782
New York City Police Department Officer
KEITH DIPRESSO Id No .946942
New York City Police Department Officers
NEIL CASEY, NY Police Department Sgt. Id. 945591
JOHN DOES l-2, as yet unidentified NIYPD
Off,rcers
                                 Defendants


        plaintiff SHAUN yoLrNG through his anorney JOEL M. GLUCK               as and   for

his Complaint, does hereby state and allege

                   PRELIMINARY STATEMENT

        1.   This is a civil rights action brought   to vindicate PlaintifPs rights under
the Fourth, Eighth and Fourteenth Amendments of the United            States Constitution

through the Civil Rights Act of I871, as amended,42 U.S.C. 19g3.
 Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 2 of 12 PageID #: 2


      2.        Plaintiffls rights were violated when officer of the New York Police

Department, hereinafter ("NYPp") unconstitutionally and without legal basis

arrested him    using severe and excessive force causing serious injuries. By reason of

defendants' actions Plaintiff was deprived of his constitutional rights.

      3.        Plaintiff   seeks   an award of compensatory   and punitive damages and

Attorneys' Fees.


                  JURISDICTION AND VENUE

      4.        This Court has subject matter jurisdiction over claims arising form

Federal Law pursuant to 28 U.S.C. $ 1331, $ 1343 ($            3-a.   This matter is brought

pursuant   to   42 U.S.C. $ 1983 and 1988 for violations of       the Fourth, Eighth and
Fourteenth Amendments.

      5.        venue is proper in this District pursuant to 28 u.S.C. g 1391 (bX2) in

that the PlaintifPs claim arose in the Eastem District of New York, more particularly

in the County of Queens.

      6.        An award of Attorneys' Fees is authorized under 42 U.S.C. $ l9SS.

                      PARTIES

      7.        The Plaintiff was at alltimes a resident of the State of New   York. At the

time this claim arose he resided in the County of Queens at 84-10 Rockaway Beach

Boulevard Queens New York 11693, County of Queens. At the time of the



                                                2
 Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 3 of 12 PageID #: 3


commencement of this action he resides      at   43 First Avenue Gloversville New    york

12078 Fulton County.

        8.     Defendant CITY OF NEW YORK was at all times relevant a municipal

entity organized under the Laws of the State of New York. It is authonzedto and at

all times relevant has maintained a police force, denominated the New york City

Police Department which is authorizedand empowered by State Law to act as its

agent for law enforcement and for which it is ultimately responsible. Defendant     CITy
OF NEW YORK assumes the risks incidental to the maintenance of a police force and

the employment of police officers.

        9.     NYPD officers       ("P.o.") ERIC CABRERA ( Tax No. g3gl42)
SI{AWN JOHNSTON (Tax No 947782 ) KEITH DIPRESSO ( Tax No. 946942 ),

NY Police Sgt NEIL CASEY (Tax No. 945561) and p.o. JOHN DOES I-2                          (

collectively referred to as "individual Defendants") are and were at alltimes relevant

herein, Police Offîcers of the City of New York and employees of the Defendant

CITY OF NEW YORK and at all times relevant herein assigned to the             100th pohce

Precinct located   in   Queens New   York   92-24 Rockaway Beach Boulevard eueens

NY- The      residences of the above named NIYPD offrcers is unknown to the       plaintiff

and   the for the pu{poses of this complaint, Plaintiff   deems their address of residence

to be One PolicePlazaNew York, N.Y. 10007 and the above Precinct address.




                                            3
 Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 4 of 12 PageID #: 4


       10.   The individual defendants are being sued herein in their individual

capacrües.

      11.    The true name and shield or Tax Reg. No of     the defendants P.O. JOHN

DOES 1-2 is not currently known to the plaintiff. However, they were employees or

agents of the NYPD on the date of the incident described herein, and are entitled to

representation by   the New York City Law Department upon their request. The Law

Department is then hereby put on notice that the Plaintiff intends to name said officers

in an amended complaint once the true name and shield I or Tax Reg. No.         of   said

defendants becomes known.

      12.    At all times relevant herein, the individual defendants were acting under

color of state law in the course and scope of their duties and functions as agents andlor

employees and officers    of the NYPD and otherwise performed and engaged in

conduct incidental to the performance of their lawful functions and were in the çourse

of their duties during the conduct complained of herein. The above individual

defendants were acting   for   and on behalf of the NYPD at all times relevant herein,

with the power and authorþ vested in them as offrcers agents and employees of

the NYPD and incidental to the lawful pursuit of their duties as employees, agents

and officers of the NIYPD.

      13.    The individual defendants' acts hereinafter complained of were carried

out intentionally recklessly and with malice¡


                                            4
    Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 5 of 12 PageID #: 5




         14.   At all times relevant herein the individual defendants were engaged in

a   joint venture assisting each other in performing the various actions described herein

                            STATEMENT OF FACTS

         15.   on May 23,2015 at approximately 12:54 ANI the plaintiff SHAUN

YOUNG was arrested by Defendants                  P.O. CABRERA,            JOHNSToN and

DIPRESSO       in the vicinity of 84-12 Rockaway Beach Boulevard      Queens, New York,

known as Hamilton Housing Projects of the New York City Housing Authority and

adjacent to the building where the Plaintiffresided. Defendant NYPD Sergeant NEIL

CASEY was identified as supervising officer on the scene and participated in the

arrest

         16.   On the same day and approximately 15 Minutes earlier, ãî individual

named Roland Chateau placed       agll   call to the NYPD dispatch call center stating that

he had been robbed at knife point of $4.00 while exiting a grocery at90-17 Rockaway

Beach Boulevard Queens New York.

         17.   The defendant P.O. offtcers JOHNSTON and DIPRESSO responded

and thereafter canvassed    the area in their patrol car for the alleged   assailant.

         18.    Plaintiff was found in court yard of building in which he resided        at

approximately 12:54 AM.




                                              5
 Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 6 of 12 PageID #: 6


        19.        The above defendants who were in plainclothes identified themselves to

the Plaintiff who denied that he had committed any robbery and was intoxicated

        20.       The above defendants P.O. JOHNSTON and P.O. DIPRESSO with the

assistance   of defendant P.O. CABRERA and the presence of Police               Sergeant

CASEY also in plainclothes and JOHN DOE defendants, the Plaintiff was arrested

in   a excessively forcible manner wherein he was struck in      the abdomen, ribs   and

buttocks, thrown to the ground and handcuffed.

       2I.        The manner and force used to effect an arrest was improper, excessive

and subjected the plaintiff to physical and emotional injury.

       22.        After Plaintiff was taken into police custody he was transported to   St.

John's Hospital Emergency Room and treated for pain in ribs and abdomen.

       23.        The Defendant officers found money on Plaintifls person and a small

pocket knife.

       24. The Plaintiff who was bruised and injured from the                acts of the

Defendants was charged under the NY Penal Law with         the following offenses:

(i) PL 160.15.02 Robbery in the First Degree (ii) PL 160.05 Robbery in the Third

Degree   (iii)   P1155.30-5 Grand Larceny in the Fourth Degree (iv)   Pl 165.40 Criminal

Possession       of Stolen Property in the Fifth Degree; (v) PL 205.30 Resisting Arrest;

(vi) PL 265.01-2 Criminal Possession of a weapon in the Fourth Degree.




                                              6
 Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 7 of 12 PageID #: 7




        25.    Following proceedings before the Criminal Court of Queens County, all

of the above charges against Plaintiff were dismissed and Plaintiff agreed to plead

to   a non criminal disposition, of Disorderly      Conduct PL 240.20 which is a violation

and not deemed a crime.

        26. As a result of the physical assault sustained by the                   Plaintiff   he

experienced pain, suffering, mental anguish and humiliation and was hospitalized.

              AS AND FOR A FIRST CAUSE OF ACTION
              DEPRTVATTON OF RTGHTS UNDER 42 U.S.C $ 19S3

        27.   Plaintiff repeats and realleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

        28.   Defendants under color       of   state   law,   subjected   the Plaintiff to the
foregoing acts and omissions thereby depriving the plaintiff of the rights privileges

and immunities secured by the Fourth, Eighth and Fourteenth Amendments to the

United States Constitution including without limitation deprivation of the following

rights: (a) freedom from unreasonable seizure of their person; ( b) the right to be

freed from    the   use   of excessive force under color of state law; ( c) freedom from

having Police fabricate evidence.

        29.   By reasons of the Defendants violation of the Plaintiffls rights under 42

U.S. C. $ 1983 Plaintiff was caused to suffer physical and emotional injuries mental

anguish and loss of constitutional rights.

                                                7
 Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 8 of 12 PageID #: 8




              AS AI\D FOR A SECOND CAUSE OF ACTION
              42 U.S.C. $ 1983 EXCESST\rE FORCE

       30.    Plaintiff repeats and realleges each and every allegation in the preceding

paragraphs as though     fully   set forth herein.

       31.    By using excessive, unnecessary unwarranted and unjustifiable force in

placing the Plaintiff under arrest the individual defendants named herein, Defendants,

NYPD Officers CABRERA, JOHNSTON, DIPRESSO, CASEY and JOHN DOES

l-2, violated the Plaintiff s rights under the Eighth       and Fourteenth Amendments       of
the U.S. Constitution under color of       law, specifically the right to be free from the use

of excessive force under color of law.

       32.   By reason of the foregoing acts the above named defendants violated the

PlaintifPs Constitutional rights under 42U.5. C. g 1983 and caused the Plaintiff to

suffer physical injuries, emotional injuries, mental anguish and loss of his

constitutional rights.


             AS AND FOR A THIRD CAUSE OF ACTION
             UNDER 42 U.S.C. S 1983 - ASSAULT

      33.    Plaintiff repeats and realleges each and every allegation in the preceding

paragraphs as though fully set forth herein




                                                 8
 Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 9 of 12 PageID #: 9


       34.   \Mhile acting under color of state law, the above named defendants,

NIYPD OfÏicers CABRERA, JOHNSTON, DIPRESSO, CASEY and JOHN DOES

1-2, commiued an intentional and violent assault against Plaintiff without legal cause

orjustification and in violation of his rights under the Fourth, Eighth and Fourteenth

Amendments of the United States Constitution.

      35. By reason thereof, the above named defendants violated 42 U.S. C. $
1983 and caused the Plaintiff to suffer physical injuries, emotional injury, mental

anguish and loss of   his constitutional rights

             AS AND FOR A FOURTH CAUSE OF ACTION
                      (MONELL CLArM)

      36.    Plaintiff repeats and realleges each and every allegation in the preceding

paragraphs as though    fully   set forth herein.

      37.    At all times relevant to the complaint herein, the defendant municipality,

CITY OF NEW YORK, had defacto policies, practices, customs and

usages, including but not limited to the improper      and inadequate supervision of the

Street Crime Units and    Anti Crime Units operating in plainclothes in the County of

Queens, which were a direct and proximate cause of the unconstitutional conduct

alleged herein.

      38. At all times relevant to the complaint herein, defendant CITY OF NEW
YORK, failed to properly train,        screen, supervise or discipline its employees and




                                                9
Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 10 of 12 PageID #: 10


police officers, including individual defendants named herein and failed to inform the

individual defendants' supervisors oftheir need to train, screen, supervise or discipline

the individual defendants.

       39.   The policies, practices, customs and usages and the failure to properly

train, screen, supervise or discipline were a direct and proximate cause of the

unconstitutional conduct alleged herein, causing ittj,rty and damage in violation ofthe

Plaintifls constitutional rights   as guaranteedunder 42 U.S.C.   $ 1983 and the United
States Constitution.

       40.    As a result of the foregoing, the Plaintiff suffered physical injury,

emotional distress and was otherwise damaged and injured.

                             JURY DEMANI)

       4I.   Plaintiff demands a trial by ju.y in this action on each and every claim

for damage and injury to constitutional rights.

                       PRAYER F'OR RELIEF

      WHEREFORE, Plaintiff demands judgment against the                      Defendants

individually and jointly and prays for relief as follows:

      i)     On the First Cause of   Action, actual   and punitive damages in an amount

to be determined at trial;




                                            10
Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 11 of 12 PageID #: 11


         ii)    On the Second Cause of Action, actual and punitive damages in an

amount to be determined at trial

         iii)   On the Third Cause of Action, actual and punitive damages in an

amount to be determined at trial

         irr)   On the Fourth Cause of Action actual and punitive damages in an amount

to be determined at trial;

      v)        Statutory attorney's fees and disbursements pursuant to 42 U.S.C.   $

1983, and costs of this action and

      vi)       Such other relief as the Court deems just and proper.


Dated:          New York, New York
                May 22,2018
                                                               submitted

                                            By            ú^
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Case 1:18-cv-03028-RPK-ST Document 1 Filed 05/22/18 Page 12 of 12 PageID #: 12



    LINITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK                          Case   No.


      SHAUN YOUNG
                               Plaintiff,

            -against-

    THE CITY OF NEW YORK and
    New York City Police Department Officer
    ERIC CABRERA Id No. 9381452
    New York City Police Department Officer
    SHAWN JOHNSTON Id, No 947782
   New York City Police Department Officer
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   New York City Police Department Off,rcers
   NEIL CASEY, NY Police Department Sgt. ld. 945591
   JOHN DOES l-2, as yet unidentified NYPD
   Officers
                             Defendants

                        SUMMONS AND COMPLAINT

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